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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 STEAMFITTERS LOCAL UNION NO. 420,

                        Plaintiff,

                  v.                                  No. 2:19-cv-3047-BMS

 MALLINCKRODT ARD, LLC., et al.,

                        Defendants.



  NOTICE OF ORDER BY JUDICIAL PANEL ON MULTIDISTRICT LITIGATION
 DENYING MOTION FOR TRANSFER OF ACTIONS PURSUANT TO 28 U.S.C. § 1407

       On January 27, 2021, Mallinckrodt ARD LLC filed a Motion to Transfer this action,

pursuant to 28 U.S.C. §§ 1412 or 1404, to the District of Delaware, where Mallinckrodt’s chapter

11 cases are pending in the Delaware Bankruptcy Court. Dkt. No. 90. On April 21, 2021, the

Court granted Plaintiff’s Motion to Stay This Action Pending the Adjudication of Plaintiff’s

Motion to Transfer This Case And Other Cases to the Judicial Panel of Multi-District Litigation

and ordered the matter “STAYED pending further ORDER of this Court.” Dkt. No. 102. On June

7, 2021, the JPML issued a ruling denying the Motion to Transfer on the grounds that there is

“uncertainty about the timing and outcome of related bankruptcy proceedings” and that “there are

motions for transfer under 28 U.S.C. §§ 1412 or 1404 pending” in several actions. See Order

Denying Transfer in MDL No. 2999 (attached hereto as Exhibit A). The Court further stated:

“[s]hould centralization appear to be necessary once the bankruptcy stay is lifted, ‘the parties may

file another Section 1407 motion, and the Panel will revisit the question of centralization at that

time.’” Id. (quoting In re Gerber Probiotic Prods. Mktg. & Sales Practices Litig., 899 F. Supp. 2d

1378, 1381 (J.P.M.L. 2012)).

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Dated: June 8, 2021                  Respectfully submitted,


                                     /s/ Lee C. Durivage

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                                CERTIFICATE OF SERVICE

       I, Lee C. Durivage, Esquire, do hereby certify that a true and correct copy of

Mallinckrodt ARD LLC's Notice of Order by Judicial Panel on Multidistrict Litigation Denying

Motion for Transfer of Actions Pursuant to 28 U.S.C. § 1407 was served upon all counsel by

electronic service through the Court's ECF system at the following addresses, unless otherwise

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Dated: June 8, 2021




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